CaSe 2:05-cr-20158-.]PI\/| Document 22 Filed 08/29/05 Page 1 of 3 Page|D 2

IN THE UNITED S'I`ATES DISTRICT COURT mBY__

 

FoR THE wESTERN DIsTRIcT oF TENNESSEE "*"_M
wEsTERN DIvISION OSAUG 29 AH 6=h3
THO\A&MU GGULD
UNITED sTATEs oF AMERICA W/DU8 OFD*.S§AB;E%|-l$

Plaintiff,

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§ §§ lg.m&!> t;?)f

_Le:rr\'¢ §L\¢\¥oo

criminal NO A£- @/JFF Ml

(GO-Day Continuance)

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the September
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28, 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 26ch day of August, 2005.

Thls document entered on the docket Sheet in com !ianc-a
with Ru|e 56 ami/or 32(b) FHCrP On 8 '-z{"Q§

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30 oRDERED this 26th day of August, 2005.

mo CiQQ

PHIPPS MCCALLA
TED STATES DIS'I`RICT JUDGE

/ ,` ,_v_j

Assistant United States Attorney

\j`v\(£¢ Erw~`/» b¢/,/ _§,M

 

 

 

 

 

Counsel for Defendant(s)

   

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20158 Was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

